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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 ABERDEEN DIVISION

THE ESTATE OF KAREN A. SMITH, Leah Locke,
as Administratrix of the Estate of Karen A. Smith;
LEAH LOCKE, individually and on behalf of all wrongful
death beneficiaries of Karen A. Smith;
CHELSEA MORTON, individually and on behalf of all wrongful
death beneficiaries of Karen A. Smith; and
RACHEL KNIGHT, individually and on behalf of all wrongful
death beneficiaries of Karen A. Smith                                                 PLAINTIFFS

V.                                                    CIVIL ACTION NO.: 1:15-cv-104-SA-DAS

TISHOMINGO COUNTY, MISSISSIPPI, et al.                                             DEFENDANTS

                  ORDER DISMISSING ACTION BY REASON OF SETTLEMENT

       The Court has been advised that this action has been settled, or is in the process of being

settled. Therefore, it is not necessary that the action remain upon the calendar of the Court.

       IT IS ORDERED that this action be dismissed without prejudice. The Court retains

complete jurisdiction to vacate this order and to reopen the action upon cause shown that settlement

has not been completed and further litigation is necessary.

       This the 23rd day of April, 2018.

                                                      /s/ Sharion Aycock
                                                      UNITED STATES DISTRICT JUDGE
